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                                                                                   2020 Oct-02 AM 09:27
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION


MELISSA FENDLEY,

      Plaintiff,
                                               CASE NO:
vs.

DOWNTOWN GRILL & WINGS, LLC,

     Defendant.
____________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues DOWNTOWN GRILL & WINGS,

LLC, for injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181

et seq., (“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama



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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District

Court for the Northern District of Alabama.

      3.      Plaintiff,    MELISSA    FENDLEY        (hereinafter   referred   to   as

“FENDLEY”) is a resident of the State of Alabama and is a qualified individual

with a disability under the ADA. FENDLEY suffers from what constitutes a

“qualified disability” under the Americans With Disabilities Act of 1990, (“ADA”)

and all other applicable Federal statutes and regulations to the extent that she

suffers from paraplegia and requires a wheelchair for mobility. Prior to instituting

the instant action, FENDLEY visited the Defendant’s premises at issue in this

matter, and was denied full, safe and equal access to the subject properties due to

their lack of compliance with the ADA.          FENDLEY continues to desire and

intends to visit the Defendant’s premises but continues to be denied full, safe and

equal access due to the barriers to access that continue to exist.

      4.      The Defendant, DOWNTOWN GRILL & WINGS, LLC is a limited

liability company registered to do business and, in fact, conducting business in the

State of Alabama.          Upon information and belief DOWNTOWN GRILL &

WINGS, LLC (hereinafter referred to as “DOWNTOWN GRILL”) is the owner,

lessee and/or operator of the real property and improvements that are the subject of

this action, specifically: The Downtown Grill located at 108 4th Street SW in


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Cullman, Alabama (hereinafter referred to as the "Restaurant").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the

Restaurant owned by DOWNTOWN GRILL is a place of public accommodation

in that it is a retail Restaurant owned and operated by a private entity that provides

goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Restaurant in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Restaurant owned by


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DOWNTOWN GRILL. Prior to the filing of this lawsuit, Plaintiff visited the

Restaurant at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered

an injury in fact as a result of the barriers to access listed in Paragraph 11, below

that she personally encountered. In addition, Plaintiff continues to desire and

intends to visit the Restaurant, but continues to be injured in that she is unable to

and continues to be discriminated against due to the barriers to access that remain

at the Restaurant in violation of the ADA. FENDLEY has now and continues to

have reasonable grounds for believing that she has been and will be discriminated

against because of the Defendant’s continuing deliberate and knowing violations of

the ADA.

      10.        Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991,

the Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.        DOWNTOWN GRILL is in violation of 42 U.S.C. §12181 et seq. and

28 C.F.R. §36.302 et seq. and is discriminating against the Plaintiff as a result of

inter alia, the following specific violations that Plaintiff personally encountered:

            i.         There is a single shared lavatory for both the Men’s and

                       Women’s toilet rooms, which is located outside of the toilet


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                       rooms. The lavatory is in a base cabinet with no knee clearance

                       or toe clearance for a wheelchair user;

           ii.         The mirror is mounted too high for a wheelchair user;

          iii.         There is insufficient maneuvering space on both sides of the

                       entry doors to both the Men’s and Women’s toilet rooms for a

                       wheelchair to enter and/or exist independently. In addition, both

                       doors are too narrow for a wheelchair user and lack accessible

                       width;

          iv.          There is no accessible signage to designate either toilet room

                       and both toilet room entry doors have a locking mechanism that

                       requires tight grasping, pinching and twisting of the wrist to

                       operate;

           v.          In both the Men’s and Women’s toilet rooms, there is only one

                       side grab bar and no rear grab bar. There is insufficient

                       maneuvering space for a wheelchair user to transfer;

          vi.          The water closets are positioned too far from the side walls for

                       a wheelchair user to safely transfer.

    12.          There are other current barriers to access and violations of the ADA at

the Restaurant owned and operated by DOWNTOWN GRILL that were not


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specifically identified herein as the Plaintiff is not required to engage in a futile

gesture pursuant to 28 C.F.R. Part 36, §36.501 and, as such, only once a full

inspection is performed by Plaintiff or Plaintiff’s representatives can all said

violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still

exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R.

§36.304, DOWNTOWN GRILL was required to make its Restaurant, a place of

public accommodation, accessible to persons with disabilities by January 28, 1992.

To date, DOWNTOWN GRILL has failed to comply with this mandate.

      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action.       Plaintiff is entitled to have her reasonable

attorney’s fees, costs and expenses paid by Defendant pursuant to 42 U.S.C.

§12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority

to grant Plaintiff injunctive relief, including an Order to alter the subject facilities

to make them readily accessible to, and useable by, individuals with disabilities to




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the extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against DOWNTOWN

GRILL and requests the following injunctive and declaratory relief:

             A.    That the Court declare that the property owned and
                   administered by Defendant is violative of the ADA;

             B.    That the Court enter an Order directing Defendant to alter
                   its facilities to make them accessible to and useable by
                   individuals with disabilities to the full extent required by
                   Title III of the ADA;

             C.    That the Court enter an Order directing Defendant to
                   evaluate and neutralize its policies and procedures towards
                   persons with disabilities for such reasonable time so as to
                   allow them to undertake and complete corrective
                   procedures;

             D.    That the Court award reasonable attorney’s fees, costs
                   (including expert fees) and other expenses of suit, to the
                   Plaintiff; and

             E.    That the Court award such other and further relief as it
                   deems necessary, just and proper.

      Dated this 1st day of October, 2020.


                                              Respectfully submitted,

                                              By: /s/ Edward I. Zwilling
                                              Edward I. Zwilling, Esq.
                                              AL State Bar No.: ASB-1564-L54E


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OF COUNSEL:

Law Office of Edward I. Zwilling, LLC
4000 Eagle Point Corporate Dr.
Birmingham, Alabama 35242
Telephone: (205) 822-2701
Email: edwardzwilling@zwillinglaw.com




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